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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )                    8:09CR272
                     Plaintiff,             )
                                            )
              v.                            )
                                            )          MEMORANDUM AND ORDER
MICHAEL D. MCCROY,                          )
                                            )
                     Defendant.             )
                                            )




       This matter is before the court on defendant Michael D. McCroy’s objection, Filing

No. 113, to the magistrate judge’s findings and recommendation, Filing No. 105. The

government charged McCroy with conspiracy to commit bank robbery in Count I, bank

robbery in Count II, and brandishing a firearm during a bank robbery in Count III.

Defendant filed a motion requesting that he be allowed to file pretrial motions out of time

and to dismiss the indictment or, in the alternative, for election of remedies. Filing No. 102

and Filing No. 103. The magistrate judge reviewed the motion and determined that it

should be denied. McCroy objects to these findings of the magistrate judge. The

magistrate judge’s finding may be reversed if clearly erroneous or contrary to law. See 28

U.S.C. § 636. The court has reviewed the record and relevant law. The court finds no

showing of good cause for the delay. See Fed. R. Crim. P. 12(e). The court concludes that

the findings and recommendations of the magistrate judge should be adopted in their

entirety.
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        THEREFORE, IT IS ORDERED that:

        1. Defendant’s motion to file pretrial motions out of time, Filing No. 102, is denied.

        2. Defendant’s motion to dismiss indictment or in the alternative elect remedies,

Filing No. 103, is denied.

        3. Defendant’s objections, Filing No. 113, are overruled.

        4. The order of the magistrate judge, Filing No. 105, is adopted in its entirety.

        DATED this 26th day of February, 2010.


                                                    BY THE COURT:



                                                    s/ Joseph F. Bataillon
                                                    Chief United States District Judge




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